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      In the United States Court of Federal Claims
                                   Case No. 98-483C
                                 (Filed: June 17, 2005)
                                 Issued for Publication

*****************************************************   Spent nuclear fuel; subject-
FLORIDA POW ER AND LIGHT COMPANY, *                     matter jurisdiction; motion for
                     Plaintiff,                     *   reconsideration; standard of
                                                    *   review; interlocutory orders;
       v.                                           *   RCFC 54, 59; FRCP 54, 59;
                                                    *   law of the case doctrine.
THE UNITED STATES OF AMERICA,                       *
                     Defendant.                     *
                                                    *
*****************************************************

Alex D. Tomaszczuk, Pillsbury, W inthrop, et al., Washington, D.C., for Plaintiff.
W ith him on the briefs were Jay E. Silberg, David J. Cynamon, Walter F.
Zenner, Michael G. Lepre, Daniel S. Hertzfeld, Jack Y. Chu, all of counsel.

Harold D. Lester, Jr., Assistant Director, Commercial Litigation Branch, Department of
Justice, Washington, D.C., attorney of record for the Defendant. With him on the briefs
were Peter D. Keisler, Assistant Attorney General, David M. Cohen, Director. Jane K.
Taylor, Office of General Counsel, Department of Energy, of counsel.

Tahmineh I. Maloney, law clerk.

                                OPINION AND ORDER

BASKIR, Judge.

       On February 10, 2005, Plaintiff Florida Power and Light Company (FP&L)
filed a motion for reconsideration of Judge Sypolt’s January 31, 2005, Opinion
and Order in Florida Power & Light Co., et al. v. United States, 64 Fed. Cl. 37
(2005) (consolidated, Nos. 98-483C, 98-485C, 01-116C, and 01-551C). Judge
Sypolt held that this Court lacked subject matter jurisdiction over Plaintiff’s breach
of contract claims and ordered those claims transferred to the U.S. Court of
Appeals for the District of Columbia. Plaintiff’s takings claims were retained.
Judge Sypolt also provided for appeal of her interlocutory order and the parties
preserved that appeal opportunity.
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      W e conclude that the Court does indeed have jurisdiction over FP&L’s
breach of contract claims. The strict standards governing motions to reconsider
under Rule 59 of the Federal Rules of Civil Procedure (FRCP) do not apply to
motions to reconsider interlocutory matters under Rules 54 and 59 of the Rules of
the United States Court of Federal Claims (RCFC). For the reasons stated
below, we hereby GRANT FP&L’s motion for reconsideration and VACATE
Judge Sypolt’s January 31, 2005, Opinion and Order.

                               Procedural Context

      Plaintiff FP&L filed its Complaint on June 8, 1998. From that date until the
present its case has been transferred numerous times to different judges of this
Court. Its case was also consolidated with three other spent nuclear fuel cases:
Nebraska Public Power District v. United States, No. 01-116C; Duke Power v.
United States, No. 98-485C; and PSEG Nuclear, L.L.C. v. United States, No. 01-
551C. W e briefly review key events.

       On January 11, 2002, Judge W ilson granted FP&L’s motion for summary
judgment on liability for partial breach of contract. Subsequently, on December
11, 2002, the case was transferred to Judge Hewitt and the parties began briefing
new issues. On October 14, 2004, Judge Sypolt, now presiding, issued an Order
to Show Cause and For Additional Briefing, in which she sua sponte questioned
the Court’s subject matter jurisdiction over the plaintiffs’ consolidated contractual
claims. The parties responded to the Order by filing responsive briefs setting
forth somewhat different theories, but agreeing on the ultimate question that
jurisdiction did lie. Prior to the issuance of Judge Sypolt’s Order to Show Cause
the parties had completed briefing motions on damages issues, including cross-
motions for summary judgment regarding the post-1998 spent nuclear fuel
acceptance rate.

       Case No. 98-493C was reassigned to the undersigned on February 2,
2005, following Judge Sypolt’s retirement from the bench. On that same date,
the three other cases covered by that decision were reassigned to other judges of
this Court. Nebraska Public Power District, No. 01-116C (J. Allegra); Duke
Power, No. 98-485C (J. W iese); PSEG Nuclear, No. 01-551C (J. Futey). In all
four formerly consolidated cases the respective plaintiffs moved for
reconsideration of Judge Sypolt’s ruling. The motions were granted in Nebraska
Public Power and Duke Power, and denied in PSEG Nuclear. Cf. Nebraska
Public Power District, No. 01-116C, slip op. (Fed. Cl. March 30, 2005); Duke
Power, No. 98-485C, slip op. (Fed. Cl. March 3, 2005); PSEG Nuclear, No. 01-
551C, slip op. (Fed. Cl. April 22, 2005).

       Plaintiff FP&L’s motion asserts that Judge Sypolt’s ruling was a “clear error
of law” that will lead to “manifest injustice.” Plaintiff asks that we vacate the

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ruling. The motion cites RCFC 59, and was timely under the 10-day limit for new
trial and judgment-related motions for reconsideration under Rule 59(b) and (e).
FP&L also filed a petition with the Federal Circuit, respecting the interlocutory
appeal, a step that does not automatically stay proceedings in this Court. See 28
U.S.C. § 1292.

      The Defendant agrees that the jurisdictional analysis of the January 31,
2005, Opinion and Order was incorrect. The parties, however, disagree on the
matter of remitting the jurisdictional issue to the Federal Circuit, with the
Defendant urging the benefits of a final resolution of the jurisdictional issue and
the Plaintiff opposing an appellate review at this stage of its case.

                               Standard of Review

      W e held a status conference on March 16, 2005, to explore, among other
issues, whether the reassignment of a case to a new judge would inform the
standards for deciding a motion for reconsideration. On March 21, we issued an
Order requesting further briefing on (1) the legal and policy-based factors the
Court should consider in ruling on the motion to reconsider, and (2) the effect of
the assignment of a new judge upon the standards for a motion for
reconsideration. Both parties have submitted supplemental briefs.

         These issues were potentially decisive in analyzing the Plaintiff’s Rule 59
motion. The motion quite clearly re-argued the Plaintiff’s earlier legal position
submitted in response to Judge Sypolt’s Order to Show Cause. If subject to the
strict limitations on reconsideration of judgments and new trials under FRCP 59,
the motion was vulnerable. By the same token, Judge Sypolt’s Opinion and
Order would be entitled to a higher degree of deference; that is, it might remain
undisturbed unless “manifestly erroneous.” That higher standard could result –
and in these circumstances has resulted – in divergent decisions. Cf. PSEG
Nuclear, No. 01-551C, slip op. (Fed. Cl. April 22, 2005); Nebraska Public Power
District, No. 01-116C, slip op. (Fed. Cl. March 30, 2005).

       In PSEG Nuclear, the Court denied the plaintiff’s motion for reconsideration
because the plaintiff had failed to meet the “high” standard for a RCFC 59(a)
motion for reconsideration. The Court found that the plaintiff failed to show a
change in law since the filing of the opinion, nor had the plaintiff discovered any
new facts. Rather, the plaintiff attempted to “rehash previously rejected
arguments and re-litigate issues already carefully considered and decided by the
court.” PSEG Nuclear, No. 01-551C, slip op. at 15. The Court’s standard of
review incorporated case law interpreting FRCP 59. Id. at 5, 15 (citing Backlund
v. Barnhart, 778 F.2d 1386, 1388 (9th Cir. 1985) (lower court properly denied
motion for reconsideration, which it deemed as being brought under FRCP 59(e),
because it presented no new arguments). On the other hand, in Nebraska Public

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Power District, the Court applied the same high standards: “This court may grant
a motion to reconsider under RCFC 59(a)(1) only in ‘extraordinary
circumstances,’ and such showing much be based on ‘manifest error of law, or
mistake of fact.’” No. 01-116C, slip op. at 1-2 (internal citations omitted). It
concluded that Judge Sypolt’s decision was a “manifest error of law.” Id. at 2.

        Our Order sought to clarify whether the strict standard of review under
FRCP 59 should apply in this instance. In its response to our Order, the
Defendant points out, and we agree, that the Opinion and Order was not a final
judgment. Consequently, the strict rules governing motions to amend and alter
final judgments under Rule 59 do not apply. W ith respect to decisions that are
not final judgments, the law of the case doctrine applies. Under that doctrine:

      Orderly and efficient case administration suggests that questions
      once decided not be subject to continued argument but the court has
      the power to reconsider its decisions until a judgment is entered.

Exxon Corp. v. United States, 931 F.2d 874, 877 (Fed. Cir. 1991) (emphasis
added) (quoting Jamesbury Corp. v. Litton Indus. Prod., Inc., 839 F.2d 1544,
1550 (Fed. Cir. 1988)). This approach is consistent with – indeed, is compelled
by both the FRCP and the RCFC.

      Generally, the RCFC mirror the FRCP. However, in the case of matters
governed by Rule 59, our Rule departs from the FRCP. The Federal Rule
governs only “New Trials; Amendment of Judgments.” Rule 59 of the RCFC
encompasses a greater range of matters, including “New Trials; Rehearings;
Amendment of Judgments; Reconsideration.” Cf RCFC 59; FRCP 59. The legal
standards for the amendment of final judgments (and granting new trials) are not
coextensive with the standards for the review of non-final orders, which may
involve matters as mundane as evidentiary rulings, indeed, even extensions of
time.

      FRCP 59(a) states the grounds for granting a new trial and presumably a
motion for amendment of judgment:

      A new trial may be granted to all or any of the parties and on all or
      part of the issues (1) in an action in which there has been a trial by
      jury, for any of the reasons for which new trials have heretofore been
      granted in actions at law in the courts of the United States; and (2) in
      an action tried without a jury, for any of the reasons for which
      rehearings have heretofore been granted in suits in equity in courts
      of the United States.




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      RCFC 59(a) states the grounds:

      (1) A new trial or rehearing or reconsideration may be granted to all
      or any of the parties and on all or part of the issues, for any of the
      reasons established by the rules of common law or equity applicable
      as between private parties in the courts of the United States.

       Both rules direct a respective court to apply common law or equity rules to
its determinations. In applying RCFC 59, judges of this Court regularly cite to
cases applying FRCP 59. These cases set out the limited circumstances in
which motions to reconsider a judgment may be granted. The four basic grounds
are: (1) to correct manifest errors of law or fact upon which the judgment is
based; (2) so that a party may present newly discovered or previously unavailable
evidence; (3) to prevent manifest injustice; or (4) when there is an intervening
change in the controlling law. See, e.g., Transonic Sys. v. Non-Invasive Med.
Techs. Corp., 75 Fed. Appx. 765, 784 (Fed. Cir. 2003); Fru-Con Construction
Corp. v. United States, 44 Fed. Cl. 298, 301 (1999).

       The decision to grant or deny a motion for reconsideration under the
Federal Rule lies largely within the discretion of the trial court. Yuba Natural
Resources, Inc. v. United States, 904 F.2d 1577, 1583 (Fed. Cir. 1990) (internal
citations omitted). A movant must support its motion by a showing of
“extraordinary circumstances which justify relief.” Fru-Con Construction Corp., 44
Fed. Cl. at 300 (citing Bally Export Corp. v. Balicar, Ltd., 804 F.2d 398, 400 (7th.
Cir. 1986)). By the same token, Rule 59 may not be used to relitigate legal
issues previously considered and resolved by the court. A movant may not
merely recapitulate “‘cases and arguments considered by the court before
rendering its original decision.’” Fru-Con Construction Corp., 44 Fed. Cl. at 301
(quoting Carteret Savings Bank, F.A. v. Shushan, 721 F. Supp. 705, 706 (D.N.J.
1989)).

      In short, a party moving for reconsideration under FRCP 59 bears a heavy
burden, as does a party moving for reconsideration of a final judgment or seeking
a new trial under our Rule 59. On occasion, however, judges of this Court have
applied these stricter standards to non-final, interlocutory orders. See, e.g., Scott
Timber Company v. United States, 2005 U.S. Claims LEXIS 143; PSEG Nuclear,
No. 01-551C, slip op. (Fed. Cl. April 22, 2005); Nebraska Public Power District,
No. 01-116C, slip op. (Fed. Cl. March 30, 2005). This blurs the distinction
between final and interlocutory orders.

      Courts possess inherent power to modify their interlocutory orders before
entering a final judgment. See, e.g., Balla v. Idaho State Board of Corrections,
869 F.2d 461 (9th Cir. 1989) (citing Marconi Wireless Telegraph Co. v. United


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States, 320 U.S. 1, 47-48 (1943)); John Simmons Co. v. Grier Brothers Co., 258
U.S. 82, 88 (1922); see also 132 A.L.R. 14 (“The general rule is that a judgment
which is merely interlocutory may be set aside or modified even at a term
subsequent to that at which it was rendered, and that until the rendition of a final
judgment the interlocutory judgment remains within the control of the court.”).
Moreover, both the FRCP and the RCFC grant courts the explicit authority to
modify their interlocutory orders.

       Rule 54 of both the RCFC and the FRCP governs judgments. Under both
Rules, a judgment “includes a decree and any order from which an appeal lies.”
RCFC 54(a); FRCP 54(a). W hen more than one claim for relief is presented in
an action, a court “may direct the entry of a final judgment as to one or more but
fewer than all of the claims...only upon an express determination that there is no
just reason for delay and upon an express direction of the entry of judgment.”
RCFC 54(b); FRCP 54(b). By this process, an Order dismissing one of several
counts or parties may be converted to a final, appealable order. Failing that, an
Order dismissing one of several counts remains interlocutory:

      In the absence of such determination and direction, any order or
      other form of decision, however designated, which adjudicates fewer
      than all the claims or the rights and liabilities of fewer than all the
      parties shall not terminate the action as to any of the claims or
      parties, and the order or other form of decision is subject to revision
      at any time before the entry of judgment adjudicating all the claims
      and the rights and liabilities of all the parties.

RCFC 54(b); FRCP 54(b) (emphasis added). Thus, Rule 54(b) governs non-final
orders such as dismissals of counts. To apply final order review standards to
non-final orders would undermine both the common law and RCFC 54 which
explicitly states that non-final orders may be revisited at any time.

       Judge Sypolt’s Order was just such an interlocutory decision. She could
have converted it to a final, appealable order. But she took another approach,
leaving her ruling as interlocutory, and leaving to the parties and the Federal
Circuit the option to process an appeal at this point if they so chose.

      W e thus conclude that Judge Sypolt’s non-final order may be revisited and
reassessed under the more flexible standards of the “law of the case.”

                                    Discussion

      Three judges of this Court have subsequently disagreed with Judge
Sypolt’s determination that this Court lacks subject matter jurisdiction to consider
the breach of contract claims in the spent nuclear fuel cases. Judge Lettow

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addressed the question first in a case that was not one of the original
consolidated cases before Judge Sypolt. See Boston Edison Co. v. United
States, 64 Fed. Cl. 167 (2005). He ruled that the Opinion and Order issued by
Judge Sypolt erroneously viewed the omission of Title III from Section 119 as a
“drafting error or oversight.” Id. at 178. He characterized the decision as “based
upon pure supposition, using legislative silence and then speculation to
superimpose an idiosyncratic view of the congressional intent on explicit
jurisdictional terms.” Id.

       In Judge Lettow’s view, the plain text of Section 119 granted original and
exclusive jurisdiction to the Courts of Appeals in six instances. Section 119 did
not affect jurisdiction over actions taken under Title III, and accordingly, did not
displace this Court’s jurisdiction under the Tucker Act of an alleged breach of
contract.

       On March 3, 2005, Judge W iese issued an opinion granting plaintiff Duke
Power’s motion for reconsideration of Judge Sypolt’s Opinion and Order on
similar grounds to Judge Lettow’s jurisdictional ruling. See Duke Power, No. 98-
485C, slip op. (Fed. Cl.). Judge Wiese explicitly rejected the legislative silence or
“oversight” argument: “Courts are not given a free hand to rewrite statutes
according to their own views of what Congress intended.” Id. at 4. He noted that
Section 119 made no reference to Title III. Based upon an analysis of the
structure of the Act, Judge W iese concluded that accepting the analysis of the
Opinion and Order would result in “an interpretation of the [Nuclear Waste Policy]
Act that Congress intended to provide for judicial review under section 119(a) of
contracts involving the permanent storage of nuclear waste while, at the same
time, excluding from such review contracts involving the interim storage of
nuclear waste.” Id. (emphasis added). Based upon this analysis, Judge W iese
vacated the Opinion and Order.

       Judge Allegra issued an order granting plaintiff Nebraska Public Power
District’s motion for reconsideration of Judge Sypolt’s Opinion and Order on
March 30, 2005. Judge Allegra adopted the reasoning of Judge Lettow and
Judge W iese in vacating Judge Sypolt’s Opinion and Order. See Nebraska
Public Power District, No. 01-116C, slip op. at 2 (Fed. Cl.).

       W e agree with the well-reasoned opinions by Judges Lettow, W iese, and
Allegra -- all of which conclude that Judge Sypolt’s determination was an
incorrect legal conclusion. See Boston Edison Co., 64 Fed. Cl. at 178; Nebraska
Public Power District, No. 01-116C, slip op. (Fed. Cl. March 30, 2005); Duke
Power, No. 98-485C, slip op. (Fed. Cl. March 3, 2005); but see PSEG Nuclear,
No. 01-551C, slip op. (Fed. Cl. April 22, 2005) (J. Futey) (denying plaintiff PSEG
Nuclear, L.L.C.’s motion for reconsideration of Judge Sypolt’s January 31, 2005,
Opinion and Order).

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                               Conclusion

     Based upon the reasoning outlined in those opinions and orders, we
hereby GRANT Plaintiff’s motion for reconsideration and VACATE Judge
Sypolt’s January 31, 2005, Opinion and Order.


     IT IS SO ORDERED.

                                  /s/ Lawrence M. Baskir
                                  LAW RENCE M. BASKIR
                                           Judge




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